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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TOMMY HILFIGER LICENSING LLC,
                                                       Case No. 18-cv-06205
                        Plaintiff,
                                                       Judge Charles R. Norgle
       v.
                                                       Magistrate Judge Mary M. Rowland
YEHUA GUO, et al.,

                        Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on November 30, 2018 [47], in

favor of Plaintiff Tommy Hilfiger Licensing LLC (“Tommy Hilfiger”) and against the

Defendants Identified in Schedule A in the amount of one million dollars ($1,000,000) per

Defaulting Defendant for willful use of counterfeit Tommy Hilfiger Trademarks in connection

with the offer for sale and/or sale of products through at least the Defendant Internet Stores, and

Tommy Hilfiger acknowledges payment of an agreed upon damages amount, costs, and interest

and desires to release this judgment and hereby fully and completely satisfy the same as to the

following Defendant:

              Defendant Name                                         Line No.
                Digital Stars                                          172

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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Dated this 13th day of September 2019.   Respectfully submitted,


                                         /s/RiKaleigh C. Johnson
                                         Amy C. Ziegler
                                         Justin R. Gaudio
                                         RiKaleigh C. Johnson
                                         Greer, Burns & Crain, Ltd.
                                         300 South Wacker Drive, Suite 2500
                                         Chicago, Illinois 60606
                                         312.360.0080 / 312.360.9315 (facsimile)
                                         aziegler@gbc.law
                                         jgaudio@gbc.law
                                         rjohnson@gbc.law

                                         Counsel for Plaintiff
                                         Tommy Hilfiger Licensing LLC




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